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                        IN THE UNITED STATES DISTRICT COURT

                         FOR THE NORTHERN DISTRICT OF OHIO



 IN RE: NATIONAL PRESCRIPTION                        MDL NO. 2804
 OPIATE LITIGATION
                                                     Civ. No. 1:17-md-02804-DAP

 THIS DOCUMENT RELATES TO:                           HON. JUDGE DAN A. POLSTER
 Track One Cases



         JANSSEN PHARMACEUTICALS, INC. AND JOHNSON & JOHNSON’S
                            WITNESS LIST

        Pursuant to Federal Rule of Civil Procedure 26, Janssen Pharmaceuticals, Inc., Johnson &

Johnson, Janssen Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals, Inc., and Ortho-McNeil-

Janssen Pharmaceuticals, Inc. n/k/a Janssen Pharmaceuticals, Inc. (“Defendants”) hereby

disclose the following witnesses who may testify at trial on their behalf, either live or by

deposition designation in accordance with the governing rules. Defendants also incorporate by

reference all witnesses disclosed in Defendants’ Joint Witness List.

        In serving this witness list, Defendants specifically reserve the right to amend,

supplement, or otherwise modify these disclosures if new or modified information is provided at

any point. Defendants also reserve the right to supplement and/or to amend their lists with any

witnesses identified on any party’s witness lists, including any party who later settles or is

severed or dismissed. Defendants further reserve the right to supplement and/or to amend this

witness list in response to rulings of the Court on pretrial motions. Defendants reserve the right

to call any of these witnesses in their case in chief.
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     A.    Expert Witnesses

           1.    Bruce Bagley, Ph.D.


                        Areas of Testimony: Dr. Bagley is expected to testify about the

                        opinions detailed in his expert report and on matters concerning his

                        knowledge, skill, experience, education, and training.


           2.    Pradeep Chintagunta, Ph.D.


                        Areas of Testimony: Dr. Chintagunta is expected to testify about

                        the opinions detailed in his expert report and on matters concerning

                        his knowledge, skill, experience, education, and training.


           3.    Joshua Cohen, Ph.D.


                        Areas of Testimony: Dr. Cohen is expected to testify about the

                        opinions detailed in his expert report and on matters concerning his

                        knowledge, skill, experience, education, and training.


           4.    Steven Cohen, M.D.


                        Areas of Testimony: Dr. Cohen is expected to testify about the

                        opinions detailed in his expert report and on matters concerning his

                        knowledge, skill, experience, education, and training.


           5.    Richard De La Garza, Ph.D.




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                        Areas of Testimony: Dr. De La Garza is expected to testify about

                        the opinions detailed in his expert report and on matters concerning

                        his knowledge, skill, experience, education, and training.


           6.    Larry Holifield


                        Areas of Testimony: Mr. Holifield is expected to testify about the

                        opinions detailed in his expert report and on matters concerning his

                        knowledge, skill, experience, education, and training.


           7.    Jonathan Ketcham, Ph.D.


                        Areas of Testimony: Dr. Ketcham is expected to testify about the

                        opinions detailed in his expert report and on matters concerning his

                        knowledge, skill, experience, education, and training.


           8.    Rob Lyerla, Ph.D. MGIS


                        Areas of Testimony: Dr. Lyerla is expected to testify about the

                        opinions detailed in his expert report and on matters concerning his

                        knowledge, skill, experience, education, and training.


           9.    Laurentius Marais, Ph.D.


                        Areas of Testimony: Dr. Marais is expected to testify about the

                        opinions detailed in his expert report and on matters concerning his

                        knowledge, skill, experience, education, and training.


           10.   Shawn Patterson, MBA

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                        Areas of Testimony: Professor Patterson is expected to testify

                        about the opinions detailed in his expert report and on matters

                        concerning his knowledge, skill, experience, education, and

                        training.


           11.   Frank Torti, M.D.


                        Areas of Testimony: Dr. Torti is expected to testify about the

                        opinions detailed in his expert report and on matters concerning his

                        knowledge, skill, experience, education, and training.


           12.   Douglas Tucker, M.D.


                        Areas of Testimony: Dr. Tucker is expected to testify about the

                        opinions detailed in his expert report and on matters concerning his

                        knowledge, skill, experience, education, and training.


     B.    Fact Witnesses


           1.    Charles Argoff, M.D., Professor of Neurology, Albany Medical College

                 and Director of the Comprehensive Pain Center at Albany Medical Center


                        Areas of Testimony: Dr. Argoff is expected to testify concerning

                        matters related to his clinical experience related to opioid

                        medications and/or his interactions with pharmaceutical

                        companies.




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           2.    Kanitha Burns, Senior Area Business Manager, Janssen Pharmaceuticals,

                 Inc. (“Janssen”)


                        Areas of Testimony: Ms. Burns is expected to testify concerning

                        Janssen sales and marketing and/or other topics related to her

                        work-related duties.


           3.    Kati Chupa, Former Vice President of Primary Care Marketing, Janssen


                        Areas of Testimony: Ms. Chupa is expected to testify concerning

                        the marketing of Duragesic and/or other topics related to her work-

                        related duties.


           4.    Bruce Colligen, Executive Director, Health Policy, J&J

                        Areas of Testimony: Mr. Colligen is expected to testify concerning

                        J&J’s advocacy regarding health policy, J&J’s interactions with

                        third-party advocacy groups, and/or other topics related to his

                        work-related duties.


           5.    Anne Davis


                        Areas of Testimony: Ms. Davis is expected to testify concerning

                        her experience with opioid medications and treatment for chronic

                        pain.


           6.    Kimberly Deem-Eshleman, Regional Business Director, Janssen




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                        Areas of Testimony: Ms. Deem-Eshleman is expected to testify

                        concerning Janssen sales, marketing, and prescriber education

                        and/or other topics related to her work-related duties.


           7.    Michele Dempsey, Director, Controlled Substances Compliance, Johnson

                 & Johnson (“J&J”)


                        Areas of Testimony: Ms. Dempsey is expected to testify

                        concerning CSA compliance policies, practices, and procedures

                        and/or other topics related to her work-related duties.


           8.    Scott Fishman, M.D., Chief, Division of Pain Medicine, University of

                 California, Davis


                        Areas of Testimony: Dr. Fishman is expected to testify concerning

                        matters related to his clinical experience related to opioid

                        medications and/or his interactions with pharmaceutical

                        companies.


           9.    Coreen “Cory” Kenny, Field Director, Strategic Customer Group

                 Managed Markets, J&J


                        Areas of Testimony: Ms. Kenny is expected to testify concerning

                        sales personnel training and practices in Ohio and/or other topics

                        related to her work-related duties.


           10.   Ron Kuntz, Product Director for Nucynta, Janssen



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                        Areas of Testimony: Mr. Kuntz is expected to testify concerning

                        the development, launch, and marketing of Nucynta and/or other

                        topics related to his work-related duties.


           11.   David Lin, Former Director of Sales and Marketing, Janssen


                        Areas of Testimony: Mr. Lin is expected to testify concerning the

                        marketing of Nucynta and/or other topics related to his work-

                        related duties.


           12.   W. Kevin Lonsdorf, M.D.


                        Areas of Testimony: Dr. Lonsdorf is expected to testify concerning

                        his clinical experience related to opioid medications.


           13.   Frank Mashett, Director of Trade Operations, Janssen


                        Areas of Testimony: Mr. Mashett is expected to testify concerning

                        Janssen’s supply chain, including Janssen’s relationships with

                        Distributors, and/or other topics related to his work-related duties.


           14.   Roxanne McGregor-Beck, Director of Regulatory, Advertising and

                 Promotion, Supporting the Cardiovascular and Metabolism Franchise,

                 Janssen


                        Areas of Testimony: Ms. McGregor-Beck is expected to testify

                        concerning the review and approval process for promotional

                        materials and/or other topics related to her work-related duties.


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           15.   Bruce Moskovitz, M.D., Former Therapeutic Area Head, Medical Affairs,

                 Janssen


                        Areas of Testimony: Dr. Moskovitz is expected to testify

                        concerning Duragesic and Nucynta, including the risks and

                        benefits of those medications and steps Janssen has taken to ensure

                        those medications’ safe use, and/or other topics related to his

                        work-related duties.


           16.   Sandra Osthoff


                        Areas of Testimony: Ms. Osthoff is expected to testify concerning

                        her experience with opioid medications and treatment for chronic

                        pain.


           17.   Bruce Ritchie, Regional Business Director, Southeast Region, Janssen


                        Areas of Testimony: Mr. Ritchie is expected to testify concerning

                        Janssen’s sales and marketing, including its training of its sales

                        representatives, and/or other topics related to his work-related

                        duties.


           18.   Lisa Robin, Chief Advocacy Officer, Federation of State Medical Boards


                        Areas of Testimony: Ms. Robin is expected to testify concerning

                        matters related to her duties and responsibilities as Chief Advocacy




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                        Officer of the Federation of State Medical Boards and related to

                        her previous relevant employment.


           19.   Philip Saigh, Executive Director, American Academy of Pain

                 Management


                        Areas of Testimony: Mr. Saigh is expected to testify concerning

                        matters related to his duties and responsibilities as the Executive

                        Director of American Academy of Pain Management and related to

                        his previous relevant employment.


           20.   Donna Trusky


                        Areas of Testimony: Ms. Trusky is expected to testify concerning

                        her experience with opioid medications and treatment for chronic

                        pain.


           21.   Gary Vorsanger, M.D., Former Senior Medical Director, Medical Affairs,

                 Janssen


                        Areas of Testimony: Dr. Vorsanger is expected to testify

                        concerning Duragesic and Nucynta, including submissions to FDA

                        about those medications, and/or other topics related to his work-

                        related duties.


           22.   Lynn Webster, M.D., Vice President of Scientific Affairs, PRA Health

                 Sciences



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                            Areas of Testimony: Dr. Webster is expected to testify concerning

                            matters related to his clinical experience related to opioid

                            medications and/or his interactions with pharmaceutical

                            companies.




Dated: September 25, 2019                      Respectfully submitted,

                                               By: /s/ Charles C. Lifland _____
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                                               Attorneys for Janssen Pharmaceuticals, Inc.,
                                               Johnson & Johnson, Janssen Pharmaceutica,
                                               Inc. n/k/a Janssen Pharmaceuticals, Inc., and
                                               Ortho-McNeil-Janssen Pharmaceuticals, Inc.
                                               n/k/a Janssen Pharmaceuticals, Inc.




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                               CERTIFICATE OF SERVICE

       I, Charles C. Lifland, hereby certify that the foregoing document was served via the

Court’s ECF system to all counsel of record.

                                                    /s/ Charles C. Lifland__
                                                    Charles C. Lifland




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